






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00591-CR






Rick Renfro, Appellant


v.


The State of Texas, Appellee






FROM THE COUNTY COURT AT LAW OF BURNET COUNTY

NO. M24975, HONORABLE W. R. SAVAGE, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



PER CURIAM

		The appellate record, which was due to be filed on October 30, 2009, has not been
filed.  Although appellant did not file an affidavit of indigence with his notice of appeal, he has filed
an affidavit of indigence with this Court.  See Tex. R. App. P. 20.2.

		To avoid further delays and protect the rights of the parties, the appeal is abated
and&nbsp;the trial court is instructed to determine, following a hearing if necessary, whether appellant
is&nbsp;presently indigent.  If the court finds that appellant is indigent, it shall order the preparation of
the&nbsp;record at no cost to appellant.  Copies of all findings, conclusions, orders, and a transcription
of&nbsp;the&nbsp;reporter's notes if a hearing is held shall be tendered for filing in this Court no later than
February 22, 2010. 



Before Chief Justice Jones, Justices Pemberton and Waldrop

Abated

Filed:   January 21, 2010

Do Not Publish


